Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.1 Filed 03/27/24 Page 1 of 214




                    UNITED STATES DISTRICT COURT
           WESTERN DISTRICT OF MICHIGAN – SOUTHERN DIVISION


ACRISURE, LLC,
                                              Case No. 1:24-cv-00318
                Plaintiff,
v.                                            Hon.

MATTHEW KELLY, CHRISTOPHER
IOVINO, ROBERT KEMPNER,
MICHAEL RELLA, ROBERT
TRAGER, & ERIC WAGNER,

                Defendants.


 Edward J. Bardelli (P53849)                  Michael L. Gutierrez (P79440)
 Jarrod H. Trombley (P83517)                  Daniel V. Barnett (P82372)
 WARNER NORCROSS + JUDD LLP                   Daniel J. Hatch (P79258)
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                          DEFENDANTS’ NOTICE OF REMOVAL




IBUTZEL\000164318\0001\100847449.v1-3/27/24
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.2 Filed 03/27/24 Page 2 of 214




        NOW COME all Defendants, by and through their counsel, Butzel Long, P.C.,

and for their Notice of Removal Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446(b),

state as follows:

                                      NOTICE OF REMOVAL

        Defendants, Matthew Kelly, Christopher Iovino, Robert Kempner, Michael

Rella, Robert Trager, and Eric Wagner (collectively “Defendants”) hereby request to

remove the matter titled Acrisure, LLC v Matthew Kelly, et al, Case No. 24-02866-CB,

currently pending in 17th Judicial Circuit Court for the County of Kent, State of

Michigan, to the United States District Court for the Western District of Michigan,

Southern Division. The bases for removal are set forth below.

                      STATEMENT OF GROUNDS FOR REMOVAL

        1.      On or about March 22, 2024, Plaintiff, Acrisure, LLC (“Plaintiff” or

“Acrisure”) commenced a civil action against the Defendants in the 17th Judicial Circuit

Court for the County of Kent, State of Michigan, Case No. 24-02866-CB (the “Circuit

Court Case”). Defendants were served with the Circuit Court Case on March 25 and

March 26, 2024. A copy of the Summons and Complaint, which constitute all process

and pleadings received from Plaintiff in this action, and of which Defendants have

notice, are attached as Exhibit 1. See 28 U.S.C. § 1446(a).




IBUTZEL\000164318\0001\100847449.v1-3/27/24   2
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.3 Filed 03/27/24 Page 3 of 214




        2.      No other pleadings have been filed with the Kent County Circuit Court. A

true and accurate copy of the Register of Actions in the Kent County Circuit Court is

attached as Exhibit 2.

        3.      Although no other pleadings have been filed in the Circuit Court Case, a

request for a Temporary Restraining Order was contained in the Complaint, and a

Temporary Restraining Order was entered on or about March 25, 2024 by the Kent

County Circuit Court, the Honorable T.J. Ackert presiding.

        4.      A true and accurate copy of the Temporary Restraining Order is attached

as Exhibit 3.

        5.      A sua sponte Order extending the Temporary Restraining Order was

entered by Judge Ackert on March 26, 2024, and is attached as Exhibit 4.

        6.      No notice to Defendants was given prior to either Order being entered.

        7.      This Court has original jurisdiction over this matter under 28 U.S.C. §

1332, and this matter may therefore be removed to this Court on the basis of diversity

jurisdiction. As explained more fully below, this action is between citizens of different

states, and the amount in controversy exceeds the sum of $75,000, exclusive of interest

and costs.

        8.      Pursuant to 28 U.S.C. § 1446(b)(1) and Rule 6(a) of the Federal Rules of

Civil Procedure, removal is timely because this Notice of Removal was filed within 30

days after Defendants received a copy of the Complaint.




IBUTZEL\000164318\0001\100847449.v1-3/27/24   3
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.4 Filed 03/27/24 Page 4 of 214




        9.      Pursuant to 28 USC 1441(a), the United States District Court for the

Western District of             Michigan, Southern     Division, is    the   Federal District

Court embracing the place where the state court suit is pending.

        10.     As explained below, this Court has jurisdiction over this case based on

diversity of citizenship pursuant to 28 USC 1332(a).

        11.     This matter should be removed because it could have been filed originally

in this Court pursuant to 28 U.S.C. § 1332, as this Court has diversity-of-citizenship

jurisdiction over Plaintiff’s claims against Defendants.

        12.     Contemporaneously with the filing of this Notice of Removal, Defendants

are providing written notice of this removal to Acrisure’s counsel, and will file a copy

of this Notice of Removal with the clerk of the Circuit Court, “which shall effect the

removal and the State court shall proceed no further unless and until the case is

remanded.” 28 U.S.C. § 1446(d).

                               CITIZENSHIP OF THE PARTIES

        13.     For the purposes of diversity jurisdiction, the citizenship of limited liability

companies is the citizenship of their members. Delay v. Rosenthal Collins Group, LLC,

585 F.3d 1003, 1005 (6th Cir. 2009) (“The general rule is that all unincorporated

entities—of which a limited liability company is one—have the citizenship of each

partner or member.”); Homfeld II, LLC v. Comair Holdings, 53 Fed App’x 731 (6th Cir.

2002) (citizenship of the members of a limited liability company “is required in order




IBUTZEL\000164318\0001\100847449.v1-3/27/24     4
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.5 Filed 03/27/24 Page 5 of 214




to establish diversity jurisdiction because a limited liability company is not treated as a

corporation and has the citizenship of its members”).

I.      Citizenship of Plaintiff Acrisure, LLC

        14.     Plaintiff Acrisure, LLC is a limited liability company. Therefore, its

members dictate its citizenship. See Delay, 585 F.3d at 1005.

        15.     Last month, in the action Tucker v. Acrisure of California, LLC, No. 3:24-

cv-00015-L-BGS (the “California Federal Action”), Acrisure filed a Notice of Removal

(the “California Notice”) to transfer the matter from the Superior Court of California to

the United States District Court of California, Southern District.

        16.     A true and accurate copy of the California Notice is attached as Exhibit 5.

        17.     The California Notice establishes that Acrisure is a citizen of Delaware

and Michigan, and upon information and belief, those facts are still true today.

        18.     The California Notice states that “Acrisure, LLC … is wholly owned by

Acrisure Intermediate, Inc. a Delaware corporation with its principal place of business

in Michigan.” (Exhibit 5, p. 4, ¶ 17).

        19.     Further, Plaintiff alleges in its Complaint in this matter that it is a resident

citizen of the State of Michigan. (Exhibit 1, p. 3, ¶ 5).

        20.     Because Acrisure Intermediate, Inc. is a Delaware corporation with its

principal places of business in Michigan, it is a citizen of Delaware and Michigan. 28

U.S.C. § 1332(c)(1).




IBUTZEL\000164318\0001\100847449.v1-3/27/24     5
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.6 Filed 03/27/24 Page 6 of 214




        21.     Accordingly, because Acrisure is a limited liability company and its sole

member is a Delaware corporation with its principal place of business in Michigan,

Acrisure is a citizen of Delaware and Michigan for diversity jurisdiction purposes. See

Delay, 585 F.3d at 1005.

II.     Citizenship of the Defendants

        22.     Defendants are now, and at the time of the filing of the Complaint were,

residents of the State of New York.

        23.     Defendant Matthew Kelly is a natural person who resides in New York.

Mr. Kelly is therefore a citizen of New York for diversity jurisdiction purposes.

        24.     Defendant Christopher Iovino is a natural person who resides in New

York. Mr. Iovino is therefore a citizen of New York for diversity jurisdiction purposes.

        25.     Defendant Robert Kempner is a natural person who resides in New York.

Mr. Kempner is therefore a citizen of New York for diversity jurisdiction purposes.

        26.     Defendant Michael Rella is a natural person who resides in New York. Mr.

Rella is therefore a citizen of New York for diversity jurisdiction purposes.

        27.     Defendant Robert Trager is a natural person who resides in New York. Mr.

Trager is therefore a citizen of New York for diversity jurisdiction purposes.

        28.     Defendant Eric Wagner is a natural person who resides in New York. Mr.

Wagner is therefore a citizen of New York for diversity jurisdiction purposes.

        29.     Accordingly, all Defendants are citizens of New York.




IBUTZEL\000164318\0001\100847449.v1-3/27/24   6
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.7 Filed 03/27/24 Page 7 of 214




        30.     Because Acrisure is a citizen of Delaware and Michigan, and the

Defendants are citizens of New York, there is complete diversity between the parties to

this action.

        31.     All Defendants consent to the removal of this action, subject to and without

waiving any defenses and rights available to them.

                                 AMOUNT IN CONTROVERSY

        32.     The amount in controversy requirement is also satisfied.

        33.     While Defendants deny any liability to Acrisure, the amount in controversy

in this action exceeds $75,000, exclusive of interest and costs.

        34.     In the Complaint, Acrisure alleges that Defendants’ “wrongfully” (i)

solicited at least 20 customers of Acrisure who have already left Acrisure to join

Defendants’ new employer; (ii) solicited each other to join their new employer; and (iii)

used or disclosed Acrisure’s confidential information.

        35.     In the “Requested Relief” section of its Complaint, Acrisure seeks

injunctive relief, including a temporary restraining order (which it already obtained ex

parte without any notice to Defendants’ counsel), as well as a preliminary and

permanent injunction. The value of Defendants’ compliance with the injunctive relief

is included in the amount in controversy for diversity jurisdiction purposes. See, e.g.,

Hunt v. Ash. State Apple Adver. Comm’n, 432, U.S. 333, 347 (1977) (“In actions seeking




IBUTZEL\000164318\0001\100847449.v1-3/27/24   7
    Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.8 Filed 03/27/24 Page 8 of 214




declaratory or injunctive relief, it is well established that the amount in controversy is

measured by the value of the object of the litigation.”).

         36.    In addition to injunctive relief, Acrisure seeks money damages, including

a “Judgment against Defendants in favor of Acrisure in an amount to be determined.”

(Exhibit 1, p. 32).

         37.    In cases involving restrictive covenants, courts regularly “reach the

jurisdictional amount by including claims for losses that are difficult to quantify,” such

as revenues generated by an employee subject to an allegedly unenforceable restrictive

covenant. See Basicomputer Corp. v. Scott, 973 F.2d 507, 510 (6th Cir. 1992) (looking

to sales generated by former employees to determine if amount-in-controversy was

satisfied); see also FirstEnergy Solutiosn Corp. v. Flerick, 521 Fed. App’x 521, 524-25

(6th Cir. 2013) (finding district court properly exercised diversity jurisdiction where

gross profits of defendant employee exceeded $75,000 in claim for breach of restrictive

covenant).

         38.    Here, based on Acrisure’s allegation that “Defendants are six former

highly-compensated Acrisure sales and account executives,” the revenues generated by

the Defendants alone exceed the $75,000 jurisdictional threshold. 1 (Exhibit 1, p. 4, ¶


1
  To the extent that Acrisure seeks its “attorneys’ fees and expenses,” pursuant to a contractual or
statutory mandate, attorney fees are included in determining the amount in controversy for purposes
of diversity. Williamson v. Aetna Life Ins. Co., 481 F.3d 369, 376 (6th Cir. 2007) (“As a general rule,
attorneys' fees are excludable in determining the amount in controversy for purposes of diversity,
unless the fees are provided for by contract or where a statute mandates or expressly allows the



IBUTZEL\000164318\0001\100847449.v1-3/27/24       8
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.9 Filed 03/27/24 Page 9 of 214




14; p. 9, ¶ 39) (alleging that Defendants were “highly compensated” and paid “hundreds

of thousands of dollars”).

        39.     When considering the extensive relief that Acrisure seeks from

Defendants, the $75,000 amount in controversy threshold is satisfied.

        40.     Defendants believe Plaintiff’s will affirmatively state that the amount in

controversy is in excess of $75,000.

           ALL REMOVAL PREREQUISITES HAVE BEEN SATISFIED

        41.     This Notice if Removal is filed within 30 days after Defendants received a

copy of the Complaint. 28 U. S. C. § 1446(b)(l).

        42.     Defendants have attached “a copy of all process, pleadings, and orders

served upon [them] in [the state court civil] action” as Exhibits 1, 3, 4. 28 U. S. C. §

1446(a).

        43.     All Defendants have consented to this removal.

        44.     No Defendant has sought similar relief with respect to this matter.

        45.     The prerequisites for removal under 28 U.S.C. §1441 have been met.

        46.     Defendants are serving written notice of the filing of this Notice of

Removal on Plaintiff and will cause a copy of this notice to be filed with the Clerk of




payment of such fees.”). Defendants expressly deny and reserve all rights regarding Acrisure’s claim
for attorneys’ fees and expenses.




IBUTZEL\000164318\0001\100847449.v1-3/27/24      9
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.10 Filed 03/27/24 Page 10 of 214




the 17th Judicial Circuit Court for the County of Kent, State of Michigan, in accordance

with 28 USC 1446(d). (See Exhibit 6).

        47.     The allegations of this notice are true and correct, and this cause is within

the jurisdiction of the United States District Court for the Western District of Michigan,

Southern Division.

        48.     For the foregoing reasons, diversity jurisdiction exists under 28 U.S.C. §

1332. Defendants therefore remove this case from the Circuit Court to this Court.

NON-WAIVER OF DEFENSES AND NON-ADMISSIONS OF ALLEGATIONS

        49.     Nothing in this Notice of Removal shall be construed as a waiver by

Defendants of any of its defenses to the claims set forth in the Complaint

        50.     By removing Plaintiff’s state court suit to this Court, Defendants do not

admit any allegations in the Complaint and do not forfeit, waive, or abandon any

defenses.




IBUTZEL\000164318\0001\100847449.v1-3/27/24   10
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.11 Filed 03/27/24 Page 11 of 214




        WHEREFORE, Defendants file this Notice of Removal and thereby seek to

remove this civil action to the United States District Court for the Western District of

Michigan, Southern Division. Plaintiff is notified to proceed no further in state court

unless or until the case should be remanded by order of said United States District Court.

                                                   Respectfully submitted,

                                                   BUTZEL LONG, P.C.

                                                   /s/ Daniel V. Barnett
                                                   Michael L. Gutierrez (P79440)
                                                   BUTZEL LONG, P.C.
                                                   Attorneys for Defendants
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DATED: March 27, 2024




IBUTZEL\000164318\0001\100847449.v1-3/27/24   11
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.12 Filed 03/27/24 Page 12 of 214




                                        INDEX OF EXHIBITS

   Exhibit Number                                    Description
   Exhibit 1                  Summons and Complaint with Exhibits
   Exhibit 2                  Register of Actions
   Exhibit 3                  Temporary Restraining Order
   Exhibit 4                  Order extending the Temporary Restraining Order
   Exhibit 5                  California Notice of Removal
   Exhibit 6                  Notice to Kent County Circuit Court




IBUTZEL\000164318\0001\100847449.v1-3/27/24    12
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.13 Filed 03/27/24 Page 13 of 214




                                  CERTIFICATE OF COMPLIANCE

        I hereby certify that this Notice of Removal was created using Microsoft Word, and that the

Notice contains 1,990 words in the text and footnotes exclusive of the case caption, cover sheets, table

of contents, table of authorities, signature block, attachments, exhibits, and this certificate.

                                                         /s/ Daniel V. Barnett
                                                         Michael L. Gutierrez (P79440)
                                                         BUTZEL LONG, P.C.
                                                         Attorneys for Defendants
                                                         300 Ottawa Avenue, NW, Suite 620
                                                         Grand Rapids, Michigan 49503
                                                         (616) 988-5600
                                                         barnett@butzel.com
DATED: March 27, 2024


                                     CERTIFICATE OF SERVICE

        On March 27, 2024, I e-filed the foregoing document with the Clerk of the Court using the

CM/ECF system and sent a paper copy to Plaintiff’s counsel by first class mail at the following address

with postage prepaid:

Edward J. Bardelli (P53849)                              James R. Carroll
Jarrod H. Trombley (P83517)                              Christopher G. Clark
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                                                         /s/ Daniel V. Barnett
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DATED: March 27, 2024




IBUTZEL\000164318\0001\100847449.v1-3/27/24         13
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.14 Filed 03/27/24 Page 14 of 214




                  EXHIBIT 1
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.15 Filed 03/27/24 Page 15 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.16 Filed 03/27/24 Page 16 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.17 Filed 03/27/24 Page 17 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.18 Filed 03/27/24 Page 18 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.19 Filed 03/27/24 Page 19 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.20 Filed 03/27/24 Page 20 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.21 Filed 03/27/24 Page 21 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.22 Filed 03/27/24 Page 22 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.23 Filed 03/27/24 Page 23 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.24 Filed 03/27/24 Page 24 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.25 Filed 03/27/24 Page 25 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.26 Filed 03/27/24 Page 26 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.27 Filed 03/27/24 Page 27 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.28 Filed 03/27/24 Page 28 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.29 Filed 03/27/24 Page 29 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.30 Filed 03/27/24 Page 30 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.31 Filed 03/27/24 Page 31 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.32 Filed 03/27/24 Page 32 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.33 Filed 03/27/24 Page 33 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.34 Filed 03/27/24 Page 34 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.35 Filed 03/27/24 Page 35 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.36 Filed 03/27/24 Page 36 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.37 Filed 03/27/24 Page 37 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.38 Filed 03/27/24 Page 38 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.39 Filed 03/27/24 Page 39 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.40 Filed 03/27/24 Page 40 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.41 Filed 03/27/24 Page 41 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.42 Filed 03/27/24 Page 42 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.43 Filed 03/27/24 Page 43 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.44 Filed 03/27/24 Page 44 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.45 Filed 03/27/24 Page 45 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.46 Filed 03/27/24 Page 46 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.47 Filed 03/27/24 Page 47 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.48 Filed 03/27/24 Page 48 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.49 Filed 03/27/24 Page 49 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.50 Filed 03/27/24 Page 50 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.51 Filed 03/27/24 Page 51 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.52 Filed 03/27/24 Page 52 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.53 Filed 03/27/24 Page 53 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.54 Filed 03/27/24 Page 54 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.55 Filed 03/27/24 Page 55 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.56 Filed 03/27/24 Page 56 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.57 Filed 03/27/24 Page 57 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.58 Filed 03/27/24 Page 58 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.59 Filed 03/27/24 Page 59 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.60 Filed 03/27/24 Page 60 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.61 Filed 03/27/24 Page 61 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.62 Filed 03/27/24 Page 62 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.63 Filed 03/27/24 Page 63 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.64 Filed 03/27/24 Page 64 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.65 Filed 03/27/24 Page 65 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.66 Filed 03/27/24 Page 66 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.67 Filed 03/27/24 Page 67 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.68 Filed 03/27/24 Page 68 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.69 Filed 03/27/24 Page 69 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.70 Filed 03/27/24 Page 70 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.71 Filed 03/27/24 Page 71 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.72 Filed 03/27/24 Page 72 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.73 Filed 03/27/24 Page 73 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.74 Filed 03/27/24 Page 74 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.75 Filed 03/27/24 Page 75 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.76 Filed 03/27/24 Page 76 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.77 Filed 03/27/24 Page 77 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.78 Filed 03/27/24 Page 78 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.79 Filed 03/27/24 Page 79 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.80 Filed 03/27/24 Page 80 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.81 Filed 03/27/24 Page 81 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.82 Filed 03/27/24 Page 82 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.83 Filed 03/27/24 Page 83 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.84 Filed 03/27/24 Page 84 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.85 Filed 03/27/24 Page 85 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.86 Filed 03/27/24 Page 86 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.87 Filed 03/27/24 Page 87 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.88 Filed 03/27/24 Page 88 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.89 Filed 03/27/24 Page 89 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.90 Filed 03/27/24 Page 90 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.91 Filed 03/27/24 Page 91 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.92 Filed 03/27/24 Page 92 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.93 Filed 03/27/24 Page 93 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.94 Filed 03/27/24 Page 94 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.95 Filed 03/27/24 Page 95 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.96 Filed 03/27/24 Page 96 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.97 Filed 03/27/24 Page 97 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.98 Filed 03/27/24 Page 98 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.99 Filed 03/27/24 Page 99 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.100 Filed 03/27/24 Page 100 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.101 Filed 03/27/24 Page 101 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.102 Filed 03/27/24 Page 102 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.103 Filed 03/27/24 Page 103 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.104 Filed 03/27/24 Page 104 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.105 Filed 03/27/24 Page 105 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.106 Filed 03/27/24 Page 106 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.107 Filed 03/27/24 Page 107 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.108 Filed 03/27/24 Page 108 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.109 Filed 03/27/24 Page 109 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.110 Filed 03/27/24 Page 110 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.111 Filed 03/27/24 Page 111 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.112 Filed 03/27/24 Page 112 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.113 Filed 03/27/24 Page 113 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.114 Filed 03/27/24 Page 114 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.115 Filed 03/27/24 Page 115 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.116 Filed 03/27/24 Page 116 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.117 Filed 03/27/24 Page 117 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.118 Filed 03/27/24 Page 118 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.119 Filed 03/27/24 Page 119 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.120 Filed 03/27/24 Page 120 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.121 Filed 03/27/24 Page 121 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.122 Filed 03/27/24 Page 122 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.123 Filed 03/27/24 Page 123 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.124 Filed 03/27/24 Page 124 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.125 Filed 03/27/24 Page 125 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.126 Filed 03/27/24 Page 126 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.127 Filed 03/27/24 Page 127 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.128 Filed 03/27/24 Page 128 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.129 Filed 03/27/24 Page 129 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.130 Filed 03/27/24 Page 130 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.131 Filed 03/27/24 Page 131 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.132 Filed 03/27/24 Page 132 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.133 Filed 03/27/24 Page 133 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.134 Filed 03/27/24 Page 134 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.135 Filed 03/27/24 Page 135 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.136 Filed 03/27/24 Page 136 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.137 Filed 03/27/24 Page 137 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.138 Filed 03/27/24 Page 138 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.139 Filed 03/27/24 Page 139 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.140 Filed 03/27/24 Page 140 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.141 Filed 03/27/24 Page 141 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.142 Filed 03/27/24 Page 142 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.143 Filed 03/27/24 Page 143 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.144 Filed 03/27/24 Page 144 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.145 Filed 03/27/24 Page 145 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.146 Filed 03/27/24 Page 146 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.147 Filed 03/27/24 Page 147 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.148 Filed 03/27/24 Page 148 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.149 Filed 03/27/24 Page 149 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.150 Filed 03/27/24 Page 150 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.151 Filed 03/27/24 Page 151 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.152 Filed 03/27/24 Page 152 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.153 Filed 03/27/24 Page 153 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.154 Filed 03/27/24 Page 154 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.155 Filed 03/27/24 Page 155 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.156 Filed 03/27/24 Page 156 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.157 Filed 03/27/24 Page 157 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.158 Filed 03/27/24 Page 158 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.159 Filed 03/27/24 Page 159 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.160 Filed 03/27/24 Page 160 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.161 Filed 03/27/24 Page 161 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.162 Filed 03/27/24 Page 162 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.163 Filed 03/27/24 Page 163 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.164 Filed 03/27/24 Page 164 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.165 Filed 03/27/24 Page 165 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.166 Filed 03/27/24 Page 166 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.167 Filed 03/27/24 Page 167 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.168 Filed 03/27/24 Page 168 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.169 Filed 03/27/24 Page 169 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.170 Filed 03/27/24 Page 170 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.171 Filed 03/27/24 Page 171 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.172 Filed 03/27/24 Page 172 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.173 Filed 03/27/24 Page 173 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.174 Filed 03/27/24 Page 174 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.175 Filed 03/27/24 Page 175 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.176 Filed 03/27/24 Page 176 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.177 Filed 03/27/24 Page 177 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.178 Filed 03/27/24 Page 178 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.179 Filed 03/27/24 Page 179 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.180 Filed 03/27/24 Page 180 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.181 Filed 03/27/24 Page 181 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.182 Filed 03/27/24 Page 182 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.183 Filed 03/27/24 Page 183 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.184 Filed 03/27/24 Page 184 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.185 Filed 03/27/24 Page 185 of 214




                   EXHIBIT 2
      Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.186 Filed 03/27/24 Page 186 of 214




17th Circuit Court Name Search

 Register of Actions
 Confirmation of whether charges in criminal cases are misdemeanors or felonies is not available from the Kent
 County Circuit Court Clerk's Office.
 Information is available at http://legislature.mi.gov/documents/mcl/pdf/mcl-chap750.pdf.
 Case #: 24-02866-CBB
 File Date: 03/22/2024
 ACRISURE LLC et al vs. KELLY, MATTHEW et al
    ACRISURE LLC, - PLAINTIFF

  Other Parties: ACRISURE LLC, null null - PLAINTIFF
  Other Parties: KELLY, MATTHEW null - DEFENDANT
  Other Parties: IOVINO, CHRISTOPHER null - DEFENDANT
  Other Parties: KEMPNER, ROBERT null - DEFENDANT
  Other Parties: RELLA, MICHAEL null - DEFENDANT
  Other Parties: TRAGER, ROBERT null - DEFENDANT
  Other Parties: WAGNER, ERIC null - DEFENDANT
  1 03/25/2024 SCHEDULED Event: MOTION FOR PRELIMINARY INJUNCTION Date: 04/22/2024 Time: 8:30 am
               Judge: ACKERT, HONORABLE TJ Location: 17TH CIRCUIT COURT- COURTROOM #10A
  2 03/22/2024 APPEARANCE OF ATTORNEY JARROD HOWARD TROMBLEY (Attorney) on behalf of ACRISURE
               LLC (PLAINTIFF)
  3 03/22/2024 APPEARANCE OF ATTORNEY EDWARD J. BARDELLI (Attorney) on behalf of ACRISURE LLC
               (PLAINTIFF)
  4 03/22/2024 MOTION FOR EX PARTE TEMPORARY RESTRAINING ORDER, PRELIMINARY INJUNCTION AND
               BRIEF IN SUPPORT
  5 03/22/2024 MOTION FOR TEMORARY ADMISSION TO PRACTICE AND AFFIDAVIT OF CHRISTOPHER G. CLARK
  6 03/22/2024 MOTION FOR TEMPORARY ADMISSION TO PRACTICE AND AFFIDAVIT OF JAMES R. CARROLL
  7 03/22/2024 ELECTRONIC FILING FEE Receipt: 1359385 Date: 03/22/2024
  8 03/22/2024 FILING FEES FOR NEW CASE Receipt: 1359385 Date: 03/22/2024
9 03/22/2024  VERIFIED COMPLAINT FOR
    Case 1:24-cv-00318-JMB-PJG     ECFTEMPORARY   TEMPORARYFiled
                                        No. 1, PageID.187    RESTRAINING
                                                                 03/27/24 ORDER AND ofPRELIMINARY
                                                                           Page 187     214
              INJUNCTIVE RELIEF (34 PGS & 54 PGS EXHIBITS)
10 03/22/2024 SUMMONS ISSUED MATTHEW KELLY (DEFENDANT); CHRISTOPHER IOVINO (DEFENDANT);
              ROBERT KEMPNER (DEFENDANT); MICHAEL RELLA (DEFENDANT); ROBERT TRAGER
              (DEFENDANT); ERIC WAGNER (DEFENDANT);


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Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.188 Filed 03/27/24 Page 188 of 214




                   EXHIBIT 3
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.189 Filed 03/27/24 Page 189 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.190 Filed 03/27/24 Page 190 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.191 Filed 03/27/24 Page 191 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.192 Filed 03/27/24 Page 192 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.193 Filed 03/27/24 Page 193 of 214




                   EXHIBIT 4
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.194 Filed 03/27/24 Page 194 of 214
Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.195 Filed 03/27/24 Page 195 of 214




                   EXHIBIT 5
Case
   Case
     1:24-cv-00318-JMB-PJG
        3:24-cv-00015-L-BGS ECF
                             Document
                                No. 1, 1PageID.196
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                                                          03/27/24 Page 196
                                                                        1 of of
                                                                             10214



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11
                              UNITED STATES DISTRICT COURT
12
                          SOUTHERN DISTRICT OF CALIFORNIA
13
14
     SCOTT J. TUCKER, an individual                   '24CV15 L    BGS
                                             Case No. __________________
15
                 Plaintiff,                  DEFENDANT ACRISURE OF
16                                           CALIFORNIA, LLC’S NOTICE OF
           vs.
17                                           REMOVAL

18   ACRISURE OF CALIFORNIA, LLC a
19   Michigan Limited Liability Company;
     and DOES 1-10, inclusive,
20
                 Defendants.
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            DEFENDANT ACRISURE OF CALIFORNIA, LLC’S NOTICE OF REMOVAL
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     1:24-cv-00318-JMB-PJG
        3:24-cv-00015-L-BGS ECF
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                                No. 1, 1PageID.197
                                          Filed 01/03/24
                                                     FiledPageID.2
                                                          03/27/24 Page 197
                                                                        2 of of
                                                                             10214




 1 TO THE CLERK OF THE ABOVE ENTITLED COURT:
 2         PLEASE TAKE NOTICE THAT Defendant Acrisure of California, LLC
 3 (“Acrisure”), pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, hereby removes to this
 4 Court the claims pending as Case No. 37-2023-00052326-CU-BT-NC in the Superior
 5 Court of California, County of San Diego.
 6 I.      Nature of the Removed Case
 7         1.     Plaintiff Scott Tucker filed this civil action against Acrisure in the
 8 Superior Court of California, County of San Diego, on December 1, 2023. A true and
 9 correct copy of the Summons and Complaint is attached as Exhibit A to the
10 Declaration of Abigail Hudson (“Hudson Decl.”), which is attached as Exhibit 1.
11 Plaintiff served the Complaint on Acrisure on December 5, 2023. (Hudson Decl. ¶ 4).
12         2.     Plaintiff asserts two causes of action, including one claim for declaratory
13 relief and one claim for unlawful and unfair business practices under Business &
14 Professions Code § 17200 et. seq. (Hudson Decl., Ex. A). Acrisure denies these
15 claims.
16         3.     Plaintiff seeks declaratory judgment, temporary and permanent injunctive
17 relief, and restitution. See, e.g., Compl. (Hudson Decl., Ex. A at Prayer for Relief).
18 II.     Acrisure Satisfies the Procedural Requirements for Removal.
19         4.     Generally, a notice of removal shall be filed within 30 days after receipt
20 by the defendant, through service or otherwise, of a copy of the initial pleading. See
21 28 U.S.C. § 1446(b).
22         5.     Plaintiff served the initial pleading, and Acrisure received it, on
23 December 5, 2023. (Hudson Decl., ¶ 4).
24         6.     As explained below, the parties are diverse because they are citizens of
25 different states, and the amount in controversy exceeds the threshold under 28 U.S.C.
26 § 1332(a).
27         7.     Acrisure filed this Notice of Removal on January 3, 2024, “within 30
28 days after receipt by the defendant, through service or otherwise, of a … paper from
                                              2
             DEFENDANT ACRISURE OF CALIFORNIA, LLC’S NOTICE OF REMOVAL
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                                No. 1, 1PageID.198
                                          Filed 01/03/24
                                                     FiledPageID.3
                                                          03/27/24 Page 198
                                                                        3 of of
                                                                             10214




 1 which it may first be ascertained that the case is one which is or has become
 2 removable.” See 28 U.S.C. §1446(b)(3). This Notice of Removal is therefore timely
 3 filed.
 4          8.    Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and
 5 orders served upon Acrisure in the state action are contained in the attached Exhibit 1.
 6 (Hudson Decl. Ex. A).
 7          9.    This Court is the proper venue for removal under 28 U.S.C. § 1446(a)
 8 because it is “the district and division embracing the place where such action is
 9 pending,” namely San Diego County.
10          10.   Pursuant to 28 U.S.C. § 1446(d), written notice of this removal will be
11 filed with the Clerk of the Superior Court of California, County of San Diego, and
12 Acrisure will serve a copy of this Notice of Removal on all parties to the state action.
13 III.     Removal Is Proper Because This Court Has Subject Matter Jurisdiction
            Pursuant to 28 U.S.C. §§ 1332 and 1441.
14
            11.   This Court has subject matter jurisdiction because this is a civil action
15
     between citizens of different states in which the amount in controversy exceeds the
16
     sum of $75,000, exclusive of costs and interest. 28 U.S.C. § 1332(a).
17
            A.    Diversity of citizenship exists between the parties.
18
            12.   Removal under 28 U.S.C. § 1441(b) is appropriate because complete
19
     diversity of citizenship exists between Plaintiff and Acrisure.
20
            13.   A diverse defendant is entitled to have its case heard in federal court. See
21
     Guaranty Trust Co. v. York, 326 U.S. 99 (1945) (“Diversity jurisdiction is founded on
22
     assurance to non-resident litigants of courts free from susceptibility to potential local
23
     bias.”); Young v. Ford Motor Co., No. 1:07-cv-00297-LJO-SMS, 2007 WL 1847663
24
     (E.D. Cal. June 27, 2007) (“A defendant’s right to remove a case that could be heard
25
     in federal court is at least as important as the plaintiff’s right to the forum of his
26
     choice”) (citation omitted). Accordingly, Congress and federal appellate courts have
27
     taken steps to combat gamesmanship and improper reliance on a purported
28
                                               3
             DEFENDANT ACRISURE OF CALIFORNIA, LLC’S NOTICE OF REMOVAL
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        3:24-cv-00015-L-BGS ECF
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                                No. 1, 1PageID.199
                                          Filed 01/03/24
                                                     FiledPageID.4
                                                          03/27/24 Page 199
                                                                        4 of of
                                                                             10214




 1 presumption against removal aimed at depriving a nonresident defendant of its right to
 2 have its case heard in federal court. See, e.g., Academy of Country Music v.
 3 Continental Casualty Co., 991 F.3d 1059 (9th Cir. 2021) (reversing remand and
 4 holding notice of removal need not prove subject matter jurisdiction; allowing right of
 5 appeal when remand based not on a colorable § 1447(c) ground); Destfino v. Reiswig,
 6 630 F.3d 952 (9th Cir. 2011) (allowing removal by later-served defendants, noting
 7 Supreme Court has “relaxed its presumption against removal”); see generally, Federal
 8 Courts Jurisdiction and Venue Clarification Act of 2011, Public Law 112–63 (Dec. 7,
 9 2011) (amending removal statute to allow removal more than one year after
10 commencement of the action where plaintiff hides the actual amount in controversy to
11 prevent removal, a principle that also applies to re-removal).
12         14.   For purposes of removal based on diversity of citizenship, a plaintiff’s
13 state of residence is presumptively considered to be his or her state of citizenship. See
14 Bradley Min. Co. v. Boice, 194 F.2d 80, 84 (9th Cir. 1951); see also Anderson v. Watt,
15 138 U.S. 694, 706 (1891) (“The place where a person lives is taken to be his domicile
16 until facts adduced establish the contrary.”).
17         15.   Plaintiff resides in Encinitas, California. (Hudson Decl., Ex. A at ¶ 26).
18 He is therefore a citizen of California.
19         16.   A limited liability company is considered to be a citizen of all of the
20 states of which its members are citizens. Johnson v. Columbia Props. Anchorage, LP,
21 437 F.3d 894, 899 (9th Cir. 2006).
22         17.   Defendant Acrisure of California, LLC is a Michigan limited liability
23 company that is wholly owned by Acrisure, LLC, which is wholly owned by Acrisure
24 Intermediate, Inc., a Delaware corporation with its principal place of business in
25 Michigan. Acrisure Intermediate, Inc. is a wholly-owned subsidiary of Acrisure
26 Holdings, Inc., a Delaware corporation with its principal place of business in
27 Michigan. (Declaration of Christopher Manoly, attached as Exhibit 2 (“Manoly
28
                                              4
             DEFENDANT ACRISURE OF CALIFORNIA, LLC’S NOTICE OF REMOVAL
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     1:24-cv-00318-JMB-PJG
        3:24-cv-00015-L-BGS ECF
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                                No. 1, 1PageID.200
                                          Filed 01/03/24
                                                     FiledPageID.5
                                                          03/27/24 Page 200
                                                                        5 of of
                                                                             10214




 1 Decl.”), at ¶ 2). Therefore, Defendant Acrisure of California, LLC is a citizen of
 2 Delaware and Michigan.
 3         18.   This Court therefore has original jurisdiction of this action under 28
 4 U.S.C. § 1332 because the sole named defendant is a citizen of Delaware and
 5 Michigan, while Plaintiff is a citizen of California.
 6         B.    The amount-in-controversy requirement is satisfied.
 7         19.   The amount in controversy in this action exceeds $75,000, exclusive of
 8 interest and costs.
 9         20.   To determine the amount in controversy, a district court should first
10 “consider whether it is ‘facially apparent’ from the complaint that the jurisdictional
11 amount is in controversy,” i.e., that the amount exceeds the threshold. Abrego v. Dow
12 Chem. Co., 443 F.3d 676, 690 (9th Cir. 2006) (citation omitted). If that is not facially
13 apparent, a court then considers whether the notice of removal plausibly alleges that
14 the amount exceeds the threshold. See Dart Cherokee Basin Operating Co. v. Owens,
15 574 U.S. 81, 87–88 (2014). Plausible allegations alone may be sufficient; evidence is
16 required only if the plaintiff contests, or a court questions, the plausibility of the
17 defendant’s allegations. Id. at 89, 95; Arias v. Residence Inn by Marriott, 936 F.3d
18 920, 922 (9th Cir. 2019). If the defendant’s allegations are challenged, then “both
19 sides submit proof and the court decides, by a preponderance of the evidence, whether
20 the amount-in-controversy requirement has been satisfied.” Dart Cherokee Basin, 574
21 U.S. at 87–88.
22         21.   A defendant’s showing may rely on reasonable assumptions when
23 estimating the amount in controversy. Arias, 936 F.3d at 922. It does not “need to
24 prove to a legal certainty that the amount in controversy requirement has been met.”
25 Dart Cherokee Basin, 574 U.S. at 88–89 (citing H.R. Rep. No. 112-10 at p. 16
26 (2011)). The standard is preponderance of the evidence. Where a defendant shows that
27 damages would exceed the threshold, “it then becomes plaintiff’s burden to show, as a
28 matter of law, that it is certain he will not recover the jurisdictional amount.” Canesco
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                                                          03/27/24 Page 201
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 1 v. Ford Motor Co., No. 3:21-cv-00425-BEN, 2021 WL 5122231, at *7 (S.D. Cal.
 2 Nov. 4, 2021) (quoting Kenneth Rothschild Trust v. Morgan Stanley Dean Witter, 199
 3 F. Supp. 2d 993, 1001 (C.D. Cal. 2002)).
 4         22.     Here, it is not “facially apparent” that the amount in controversy exceeds
 5 $75,000. Plaintiff seeks declaratory judgment, restitution, and reasonable attorneys’
 6 fees—on top of prejudgment interest and any further relief the Court may deem
 7 proper. (Hudson Decl., Ex. A at Prayer for Relief). However, based on Plaintiff’s
 8 claims, the amount in controversy exceeds $75,000.
 9         i.      Plaintiff’s declaratory judgment claim alone meets the amount in
10                 controversy threshold.
11         23.     “In actions seeking declaratory or injunctive relief, it is well established
12 that the amount in controversy is measured by the value of the object of the litigation.”
13 Hunt v. Wash. State Apple Adver. Comm’n, 432 U.S. 333, 347 (1977). “The value of
14 the declaratory or injunctive relief does not need to be an exact valuation.” Meyer v.
15 Howmedica Osteonics Corp., No. 14CV2496 AJB NLS, 2015 WL 728631 at *4 (S.D.
16 Cal. Feb. 19, 2015).
17         24.     In similar cases analyzing the enforceability of a non-compete in a
18 declaratory judgment action, the courts “examined the revenues generated by an
19 employee” subject to the non-compete to determine “whether the jurisdictional
20 minimum has been met.” Mahoney v. Depuy Orthopaedics, Inc., CIV F 07–1321 AWI
21 SMS, 2007 WL 3341389, *4 (E.D. Cal. Nov. 8, 2007) (holding the amount in
22 controversy threshold was satisfied, where the plaintiff generated between $2.4
23 million and $3.9 million in annual sales revenues, finding it unlikely that profit
24 attributable to the plaintiff would be equal or less than $75,000 based on revenues
25 earned); see also Meyer, 2015 WL 728631 at *4 (“Inferring a $75,000 profit from
26 $650,000 in revenue requires only a slim profit margin and is entirely reasonable.”);
27 Luna v. Kemira Specialty, Inc., 575 F. Supp. 2d 1166, 1175 (C.D. Cal. 2008) (finding
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        3:24-cv-00015-L-BGS ECF
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 1 the amount in controversy threshold met based on sales revenue earned by employee
 2 seeking declaratory judgment on enforceability of non-compete).1
 3         25.   Here, Plaintiff serves as Principal and Chief Executive Officer of J.S.
 4 Tucker Insurance Services, which operates as a fictitious business name of Acrisure of
 5 California, LLC. (Manoly Decl. ¶ 3).
 6         26.   Plaintiff’s duties as Principal and Chief Executive Officer of J.S. Tucker
 7 Insurance Services include, among other duties, “the solicitation and sale of insurance
 8 policies and related products and services on behalf of Employer and servicing
 9 existing and new customers of Employer.” (Manoly Decl. ¶ 4, Ex. A). As Principal
10 and Chief Executive Officer of J.S. Tucker Insurance Services, he also had
11 responsibility for the budget, operation, and achievement of financial objectives
12 associated with the J.S. Tucker Insurance Services business. (Manoly Decl. ¶ 4).
13         27.   In his role, Plaintiff himself generated $1,534,386 in revenue for
14 Acrisure, from over four hundred clients, during the trailing twelve-month period
15 starting in November 2022 and ending in October 2023. (Manoly Decl. ¶ 5).
16 Plaintiff’s agency operation, J.S. Tucker Insurance Services, of which Plaintiff is
17 Principal and Chief Executive Officer, generated $2,134,597 in revenue during the
18 same period. (Id.). Certain of Plaintiff’s clients, like Hi Tech Honeycomb, Inc. and
19 Orion Construction Corporation, generated revenue in amounts over $75,000 each,
20 during the same period. (Id.).
21         28.   In light of the amount of Acrisure’s revenue attributable to Plaintiff, it is
22 appropriate to infer Plaintiff generated well over $75,000 in profits for Acrisure over
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     See also Bell v. PSS World Med., Inc., 2013 WL 5555480, at *2 n.3 (N.D. Ga. Oct.
25 8, 2013) (“[T]he value of the litigation to the plaintiff is ... the difference between
26 what the plaintiff can earn with and without complying with restrictive covenants.”);
   Basicomputer Corp. v. Scott, 791 F. Supp. 1280, 1286 (N.D. Ohio 1991), aff’d 973
27 F.2d 507 (6th Cir.1992) (considering commissions, profits from sales revenue, and
   estimated loss of revenue to determine the amount in controversy in an action seeking
28 enforcement of non-competition covenants).
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                                                          03/27/24 Page 203
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 1 the past year alone. See, e.g., Meyer, 2015 WL 728631 at *4 (inferring profits of at
 2 least $75,000 where revenue generated ($650,000) was much lower than that at issue
 3 here ($1.5 million to $2.2 million)).
 4         29.   Should the Court enter the declaratory judgment requested by Plaintiff,
 5 thereby rendering the non-compete provisions within his Employment Agreement
 6 unenforceable and Plaintiff free to compete with Acrisure, Acrisure would be at risk
 7 of losing over $2 million in revenue, and profits certainly well over $75,000. Indeed,
 8 if even one of Plaintiff’s high-revenue clients (like Hi Tech Honeycomb or Orion
 9 Construction Corporation) were to follow Plaintiff to a new employer, Acrisure stands
10 to lose in excess of $75,000 in revenue from the loss of one of those single accounts
11 alone. Thus, the revenue generated by Plaintiff for Acrisure establishes that the
12 amount in controversy requirement is satisfied. See Mahoney, 2007 WL 3341389 at
13 *4; Meyer, 2015 WL 728631 at *4.
14         ii.   Plaintiff’s claim for attorneys’ fees adds to the amount in
15               controversy.
16         30.   “A court must include future attorneys’ fees recoverable by statute or
17 contract when assessing whether the amount-in-controversy requirement is met.” Kee
18 v. Hiossen, Inc., No. 19-cv-1440-WQH-BLM, 2019 U.S. Dist. LEXIS 190295 at *11-
19 12 (S.D. Cal. Nov. 1, 2019); Fritsch v. Swift Transp. Co. of Arizona, LLC, 899 F.3d
20 785, 794 (9th Cir. 2018) (“a court must include future attorneys’ fees recoverable by
21 statute or contract when assessing whether the amount-in-controversy requirement is
22 met”) (emphasis added).
23         31.   In his Complaint, Plaintiff asserts that he “seeks to recover from Acrisure
24 attorneys’ fees under California Code of Civil Procedure section 1021.5.” (Hudson
25 Decl., Ex. A at ¶ 66). While attorneys’ fees are generally unrecoverable for alleged
26 unfair business practices in violation of California Business and Professions Code
27 sections 16600 and 17200 et seq., section 1021.5 of the Code of Civil Procedure does
28 permit the recovery of attorneys’ fees to “a successful party . . . in any action which
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                                                     FiledPageID.9
                                                          03/27/24 Page 204
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 1 has resulted in the enforcement of an important right affecting the public interest if:
 2 (a) a significant benefit . . . has been conferred on the general public or a large class of
 3 persons, (b) the necessity and financial burden of private enforcement . . . are such as
 4 to make the award appropriate, and (c) such fees should not in the interest of justice be
 5 paid out of the recovery, if any.” Cal. Code Civ. P. § 1021.5.
 6         32.    Additionally, under his Employment Agreement, Plaintiff agreed to the
 7 following: “In the event of litigation to enforce the rights granted by this Agreement,
 8 the non-prevailing party shall be responsible to pay the attorneys’ fees, court costs and
 9 related expenses of litigation incurred by the prevailing party.” (Manoly Decl., Ex. A).
10         33.    If successful, Plaintiff is expected to claim attorneys’ fees (as pled in his
11 Complaint) in an amount over $75,000. Although Acrisure denies that Plaintiff is
12 entitled to any attorneys’ fees—under either section 1021.5 of the Code of Civil
13 Procedure or Plaintiff’s Employment Agreement—the amount of those fees is also
14 included in the amount in controversy for purposes of diversity jurisdiction.
15         34.    In sum, based on reasonable assumptions regarding the revenue Plaintiff
16 generates for Acrisure and Plaintiff’s demand for attorneys’ fees, the available
17 information reveals that the amount in controversy exceeds the $75,000 threshold
18 necessary for diversity jurisdiction pursuant to 28 U.S.C. § 1332(a). Canesco v. Ford
19 Motor Co., 570 F. Supp. 3d 872, 902 (S.D. Cal. 2021) (“[t]he ultimate inquiry is what
20 amount is put ‘in controversy’ by the plaintiff’s complaint, not what a defendant will
21 actually owe”).
22         35.    Should the Court require further proof of the amount in controversy,
23 Acrisure requests the ability to conduct jurisdictional discovery by interrogatories or
24 depositions to support that the amount-in-controversy is satisfied pursuant to 28
25 U.S.C. § 1332.
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 1 Dated: January 3, 2024                 Respectfully submitted,
 2                                       SHOOK, HARDY & BACON L.L.P.
 3                                       By: /s/ Abigail Hudson
                                             Abigail Hudson
 4
 5                                           Attorney for Defendant
                                             ACRISURE OF CALIFORNIA, LLC
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9    Attorneys for Defendant
10   ACRISURE OF CALIFORNIA, LLC
11                            UNITED STATES DISTRICT COURT
12                        SOUTHERN DISTRICT OF CALIFORNIA
13
     SCOTT J. TUCKER, an individual                   '24CV15 L    BGS
                                              Case No_________________
14
                                              DECLARATION OF ABIGAIL
15                                            HUDSON IN SUPPORT OF
                 Plaintiff,
                                              DEFENDANT ACRISURE OF
16                                            CALIFORNIA, LLC’S NOTICE OF
17                                            REMOVAL
           vs.
18
19   ACRISURE OF CALIFORNIA, LLC a
20   Michigan Limited Liability Company;
     and DOES 1-10, inclusive,
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22               Defendants.
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                              DECLARATION OF ABIGAIL HUDSON
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 1         I, Abigail Hudson, declare and state as follows:
 2         1.     I am an attorney licensed to practice before all of the courts of the State
 3 of California, an attorney at the law firm of Shook, Hardy & Bacon L.L.P., and
 4 counsel of record for Defendant Acrisure of California, LLC (“Acrisure”) in the
 5 above-entitled action. This declaration is based upon my personal knowledge, except
 6 as to those matters stated on information and belief and, as to those matters, I believe
 7 them to be true. If called upon as a witness, I could and would competently testify as
 8 to the facts set forth herein.
 9         2.     Plaintiff Scott J. Tucker (“Plaintiff”) filed this civil action against
10 Acrisure on December 1, 2023 in the Superior Court of California, County of San
11 Diego, styled Scott J. Tucker v. Acrisure of California, LLC, Case No. 37-2023-
12 00052326-CU-BT-NC.
13         3.     Attached as Exhibit 1 is a true and correct copy of Plaintiff’s Summons
14 to Acrisure and Original Complaint, which was filed in the San Diego County
15 Superior Court.
16         4.     Plaintiff served the Complaint on Acrisure on December 5, 2023. (See
17 Ex. A).
18         I declare under penalty of perjury that the foregoing is true and correct.
19 Executed on January 3, 2024 in Los Angeles, California.
20
21                                                /s/ Abigail Hudson
                                                  ABIGAIL HUDSON
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                              DECLARATION OF ABIGAIL HUDSON
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Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.211 Filed 03/27/24 Page 211 of 214




                   EXHIBIT 6
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                                       STATE OF MICHIGAN
                                   KENT COUNTY CIRCUIT COURT


 ACRISURE, LLC,                                  Case No. 24-02866-CB
 a Michigan limited liability company,
                                                 Hon. T.J. ACKERT
                 Plaintiff
 v.

 MATTHEW KELLY, CHRISTOPHER
 IOVINO, ROBERT KEMPNER, MICHAEL
 RELLA, ROBERT TRAGER, & ERIC
 WAGNER, individually,

                 Defendants


  Edward J. Bardelli (P53849)                           Michael L. Gutierrez (P79440)
  Jarrod H. Trombley (P83517)                           Daniel V. Barnett (P82372)
  WARNER NORCROSS + JUDD LLP                            BUTZEL LONG, P.C.
  Attorneys for Plaintiff                               Attorneys for Defendants
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  SKADDEN, ARPS, SLATE,
  MEAGHER & FLOM LLP
  James R. Carroll (pro hac vice forthcoming)
  Christopher G. Clark (pro hac vice forthcoming)
  Co-Counsel for Plaintiff
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  christopher.clar@skadden.com


          DEFENDANTS’ NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. 1446(b)

         NOW COME all Defendants, by and through their attorneys, BUTZEL LONG, P.C., and for

 their Notice of Removal Pursuant to 28 U.S.C. 1446(b), state as follows:




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Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.213 Filed 03/27/24 Page 213 of 214




                                         NOTICE OF REMOVAL

         1.      On or about March 22, 2024, Plaintiff filed an action in the 17th Judicial Circuit Court

 for the County of Kent, State of Michigan, bearing Case No. 24-02866-CB (the “State Court Suit”).

 Defendants were served on March 25 and March 26, 2024.

         2.      On March 27, 2024, Defendants, pursuant to 28 USC 1446(b), filed a Notice of

 Removal with respect to the State Court Suit. A copy of said Notice is attached hereto as Exhibit 1.

         3.      Diversity of citizenship exists pursuant to 28 USC 1332(a)(1) and the amount in

 controversy exceeds $75,000 as required by 28 USC 1332(a). As such, this matter is properly within

 the jurisdiction of the United States District Court for the Western District of Michigan, Southern

 Division, and is subject to removal under 28 USC 1441(b).

         4.      Defendants state that this action is properly removable and respectfully notifies this

 Court and Plaintiff that this action has been removed to the United States District Court for the Western

 District of Michigan, Southern Division.

         WHEREFORE, Defendants respectfully put this Court on notice that this matter has been

 removed to the United States District Court for the Western District of Michigan, Southern Division.

                                                         Respectfully submitted,

                                                         BUTZEL LONG

 Date: March 27, 2024                          By:        /s/ Michael L. Gutierrez
                                                         Michael L. Gutierrez (P79440)
                                                         Daniel V. Barnett (P82372)
                                                         Attorneys for Defendants
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Case 1:24-cv-00318-JMB-PJG ECF No. 1, PageID.214 Filed 03/27/24 Page 214 of 214




                                      CERTIFICATE OF SERVICE

          I hereby certify that on March 27, 2024, I electronically filed the above document with the
 Clerk of the Court using the Business Court’s E-Filing System, which will send notification of such
 filing to all counsel of record.

                                                         Respectfully submitted,

                                                         BUTZEL LONG

 Date: March 27, 2024                          By:        /s/ Daniel V. Barnett
                                                         Michael L. Gutierrez (P79440)
                                                         Daniel V. Barnett (P82372)
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